                  Case 3:06-cr-05058-RBL              Document 35        Filed 03/24/06                Page 1 of 1




1

2
                                                                                                             JUDGE: LEIGHTON

3

4

5                                             UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF WASHINGTON
                                                       AT TACOMA
6
               UNITED STATES OF AMERICA,                 )
7                                                                   )     NO. CR06-5058RBL
                                         Plaintiff,                 )
                                                                    )
8                                                                   )
                            vs.                                     )
9                                                                   )     ORDER
                                                                    )     GRANTING MOTION TO
               FELIX ADEOKUN,                                       )     CONTINUE TRIAL DATE
10                                                                  )
                                                                    )     (U.S. v. NEAL, et al)
11                                       Defendant.                 )
                                                                )
12

13
                  Upon the motion of the defendant, Felix Adeokun, to continue the trial in the above-captioned case,
     and based upon the facts set forth in the motion, which are hereby adopted as findings of the Court and
14
     incorporated by reference, the Court finds that such a continuance would serve the ends of justice and outweigh
15   the best interests of the public and the Defendant in a speedy trial; therefore,
16
                  IT IS HEREBY ORDERED that the trial date be continued to May 30, 2006. The period of delay
17
     resulting from this continuance from April 10, 2006, to the new trial date of May 30, 2006 is hereby excluded
18
     for speedy trial purposes under 18 U.S.C. § 3161(h)(8)(A) and (B) for the purpose of computing the time
19   limitations imposed by the Speedy Trial Act, 18 U.S.C. § 3161-3174.
20
     ACCORDINGLY:
21       The Jury Trial is CONTINUED to MAY 30, 2006 at 9:00 a.m.
         The Pretrial Conference is rescheduled for MAY 24, 2006 at 9:00 a.m.
22       The Motions Cutoff date is extended to MAY 1, 2006.
23
     IT IS SO ORDERED this 23rd day of March, 2006.
24

25
                                                             A
                                                             RONALD B. LEIGHTON
                                                             UNITED STATES DISTRICT JUDGE
26   Presented by:
     /s/
27   Judith M. Mandel, WSBA#8677
     Attorney for Felix Adeokun
28
     [Proposed] Order Granting Motion                                      JUDITH M. MANDEL
     to Continue Trial Date                                                Attorney at Law
                                                                                         524 Tacoma Ave So
                                                                                         Tacoma, WA 98402
                                                               1                          (253)272-5640
